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 5
     Attorney for Defendant
 6   RACHELLE SARI GARNITZ
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 8
 9                                 UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,
13                                                     Case No. 2:09-cr-00412 LKK
                    Plaintiff,
14
     v.
15                                                     STIPULATION AND
                                                       ORDER EXONERATING BOND
16 RACHELLE SARI GARNITZ,
17                  Defendant.

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20           On September 15, 2009, this court ordered Ms. Garnitz’ release on $50,000 bond. On July
21   16, 2010, Ms. Garnitz filed an appearance bond for $50,000 secured with real property located at
22   184 Lucas Lane, Grass Valley, California, 95945. A deed of trust for the property was subsequently
23   filed with the Nevada County Recorder and this Court.
24                                             STIPULATION
25           Plaintiff, United States of America, by and through its counsel, United States Attorney
26   Michael Beckwith, and defendant, Rachelle Garnitz, by and through her counsel, John R. Duree, Jr.,
27   agree and stipulate that defendant was given a non-custodial sentence and she has reported to
28   probation as directed to serve the sentence imposed by the Court in this case.
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 1          Accordingly, the parties respectfully request that the bail bond posted to secure the release of
 2   the defendant in this case be exonerated and the property posted for bail on behalf of the defendant
 3   be reconveyed.
 4
 5
 6   IT IS SO STIPULATED
 7   Dated: February 28, 2013                                   /s/ Michael Beckwith
                                                            MICHAEL BECKWITH
 8                                                          Unites States Attorney
 9
     Dated: February 28, 2013                                   /s/ John R. Duree, Jr.
10
                                                            JOHN R. DUREE, JR.
11                                                          Attorney for Defendant
12                                                          RACHELLE GARNITZ

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14
                                                   ORDER
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            Good cause appearing,
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18          IT IS HEREBY ORDERED that the bail bond posted to secure the release of the defendant

19   be exonerated and the property posted for bail on behalf of this defendant be reconveyed.

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     Dated: March 4, 2013
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